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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CASA, INC., et al.,                             *

     Plaintiffs,                                *

v.                                              *                   Civ. No. DLB-25-201

DONALD J. TRUMP, et al.,                        *

     Defendants.                                *

                                 MEMORANDUM OPINION

       In 1868, the United States Congress ratified the Fourteenth Amendment to the United

States Constitution. The Citizenship Clause of the Fourteenth Amendment states:

       All persons born or naturalized in the United States, and subject to the jurisdiction
       thereof, are citizens of the United States and of the State wherein they reside.

U.S. Const. amend. XIV, § 1, cl. 1.

       More than 150 years after the Fourteenth Amendment was ratified, the newly-sworn-in

President of the United States Donald J. Trump signed an Executive Order called “Protecting the

Meaning and Value of American Citizenship.” See Exec. Order No. 14,160, 90 Fed. Reg. 8449

(Jan. 29, 2025) (the “Order” or “Executive Order”). The Executive Order interprets the Citizenship

Clause of the Fourteenth Amendment in a manner that the Supreme Court has resoundingly

rejected and no court in the country has ever endorsed. If the Order is allowed to take effect, it

would deny citizenship by birth to U.S.-born persons whose mothers are in the country unlawfully

or temporarily and whose fathers are not citizens or lawful permanent residents at the time of the

person’s birth.

       The day after the Executive Order was issued, CASA, Inc. and Asylum Seeker Advocacy

Project, two nonprofit organizations that provide services to immigrants, and five pregnant women
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without permanent legal status who expect to give birth in the United States in the coming months

filed this lawsuit against President Trump, the Secretary of the U.S. Department of State, the U.S.

Attorney General, the Secretary of the U.S. Department of Homeland Security, the Director of

U.S. Citizenship and Immigration Services, the Commissioner of the Social Security

Administration, and the United States of America. The plaintiffs allege that the Executive Order

violates the Fourteenth Amendment to the Constitution and the Immigration and Nationality Act.

They request a preliminary injunction that enjoins implementation and enforcement of the

Executive Order until the merits of their claims are resolved. The government opposes preliminary

injunctive relief.

        The plaintiffs easily have met the standard for a preliminary injunction. There is a very

strong likelihood of success on the merits. The plaintiffs will face irreparable harm without

injunctive relief. And the balance of the equities and the public interest strongly weigh in favor of

a preliminary injunction. The motion for a preliminary injunction is granted. The defendants are

enjoined from implementing and enforcing the Executive Order.

        I.      Background

        At noon on January 20, 2025, President Trump took the oath of office of the President of

the United States. Later that day, President Trump signed an Executive Order called “Protecting

the Meaning and Value of American Citizenship.” The Executive Order purports to interpret the

clause “subject to the jurisdiction thereof” in the Citizenship Clause of the Fourteenth Amendment.

In Section 1 of the Order, titled “Purpose,” the Order explains that “[t]he Fourteenth Amendment

has always excluded from birthright citizenship persons who were born in the United States but

not ‘subject to the jurisdiction thereof.’” Exec. Order § 1. Section 1 continues:

        Among the categories of individuals born in the United States and not subject to
        the jurisdiction thereof, the privilege of United States citizenship does not



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       automatically extend to persons born in the United States: (1) when that person’s
       mother was unlawfully present in the United States and the father was not a United
       States citizen or lawful permanent resident at the time of said person’s birth, or (2)
       when that person’s mother’s presence in the United States at the time of said
       person’s birth was lawful but temporary (such as, but not limited to, visiting the
       United States under the auspices of the Visa Waiver Program or visiting on a
       student, work, or tourist visa) and the father was not a United States citizen or
       lawful permanent resident at the time of said person’s birth.

Id.

       Section 2 of the Order establishes the policy of the United States government. See id. § 2.

Under Section 2, no federal department or agency “shall issue documents recognizing United

States citizenship, or accept documents issued by State, local, or other governments or authorities

purporting to recognize United States citizenship” to a person whose mother was unlawfully

present or lawfully present with only temporary status and whose father was neither a United States

citizen nor lawful permanent resident at the time of that person’s birth. Id. § 2(a). The policy

applies only to persons who are born in the United States on or after February 19, 2025. Id. § 2(b).

It does not impact the ability of other people, including children of lawful permanent residents, to

get documentation of their American citizenship. Id. § 2(c).

       Section 3 of the Order discusses enforcement. Id. § 3. It instructs the Secretary of State, the

Attorney General, the Secretary of Homeland Security, and the Commissioner of Social Security

to “take all appropriate measures to ensure that the regulations and policies of their respective

departments and agencies are consistent with this order” and that their agencies’ officers,

employees, and agents act in accordance with the Order. Id. § 3(a). It also instructs the heads of

executive departments and agencies to issue public guidance regarding their implementation of the

Order within 30 days of its issuance. Id. § 3(b).

       On January 21, 2025, the plaintiffs filed this lawsuit against President Trump, the Secretary

of the U.S. Department of State, the U.S. Attorney General, the Secretary of the U.S. Department



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of Homeland Security, the Director of U.S. Citizenship and Immigration Services, the

Commissioner of the Social Security Administration, and the United States of America. ECF 1,

¶¶ 50–56. Each individual defendant is sued in their official capacity. Id. The plaintiffs claim that

the Executive Order violates the Fourteenth Amendment, id. ¶¶ 101–08, and the Immigration and

Nationality Act (“INA”), id. ¶¶ 109–14. They seek declaratory and injunctive relief. Id. at 37–38.

       The two organizational plaintiffs are CASA, Inc. (“CASA”) and Asylum Seeker Advocacy

Project (“ASAP”). CASA is a nonprofit organization headquartered in Prince George’s County,

Maryland. Id. ¶ 19. It “is the largest membership-based immigrant rights organization in the mid-

Atlantic region, with more than 175,000 members.” Id. Its mission “is to create a more just society

by building power and improving the quality of life in working-class Black, Latino/a/e, Afro-

descendent, Indigenous, and immigrant communities.” Id. ¶ 20. It helps members apply for public

benefits and offers free legal consultations. Id. ¶ 22. CASA does not issue formal membership to

anyone under the age of 15, though it does provide services to young people and their families. Id.

¶ 24. CASA’s members include women without lawful status who are pregnant or plan to give

birth in the United States. Id. ¶ 25. Under the Order, their children born in the United States would

no longer be U.S. citizens.

       ASAP is a nonprofit organization headquartered in New York, New York. Id. ¶ 31. It “is

the largest membership-based organization of asylum-seekers in the United States, with over

680,000 members from more than 175 countries who reside in all 50 states and several U.S.

territories.” Id. “ASAP’s mission is to help its members—individuals seeking asylum—to build a

more welcoming United States.” Id. ¶ 32. To that end, it provides members with community and

legal support. Id. ASAP does not extend formal membership to people under the age of 14, but the

benefits of ASAP membership may extend to them through their parents’ membership. Id. ¶ 35.




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Most ASAP members have applied for asylum and cannot be deported while their asylum

applications are pending. Id. ¶ 36. ASAP expects that “[h]undreds or even thousands of [its]

members will give birth to children in the United States over the coming weeks and months[.]” Id.

¶ 37. Despite being born in the United States, those children would not be U.S. citizens under the

Order.

         The individual plaintiffs—Maribel, Juana, Trinidad Garcia, Monica, and Liza—are

proceeding under pseudonyms. 1 ECF 3. Maribel is a member of CASA. ECF 1, ¶ 45. She is

undocumented and has lived in the United States for 18 years. Id. She is pregnant and due in July

2025. Id. Juana is also a CASA member. Id. ¶ 46. She has a pending asylum claim. Id. She is two

months pregnant. Id. Trinidad Garcia is a member of ASAP. Id. ¶ 47. She and her partner came to

the United States on tourist visas in 2017 and filed affirmative asylum applications. Id. They are

awaiting their asylum interview. Id. Trinidad Garcia is pregnant and due in August 2025. Id. She

and her partner are citizens of Venezuela. Id. Venezuela does not provide consular services in the

United States, so she fears that her child would be rendered stateless by the Order. Id. Monica is

also an ASAP member from Venezuela. Id. ¶ 48. She has Temporary Protected Status and has filed

an application for asylum. Id. She is pregnant and due in August 2025. Id. Like Trinidad Garcia,

she fears that her child would be rendered stateless by the Order. Id. Liza is married to an ASAP

member who is seeking asylum. Id. ¶ 49. Liza is currently in lawful status on a student visa. Id.

She is pregnant and due in May 2025. Id. She and her husband are Russian citizens who fear



1
  The individual plaintiffs have asked to proceed under pseudonyms because they “fear that the
U.S. government and members of the public could retaliate against them or their minor children
because of their participation in this lawsuit.” ECF 3, at 1. The government does not oppose the
motion “provided that [p]laintiffs provide the identities of those individuals on request if necessary
to permit [it] to fully defend this case.” ECF 39, at 1. The motion to proceed under pseudonyms is
granted. If the government needs to know the identities of the individual plaintiffs to defend this
case, it may file a request for relief from the Court.


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persecution from the Russian government. Id. They are afraid to apply for Russian citizenship for

their child and are worried their child will be rendered stateless by the Order. 2

       The plaintiffs filed a motion for a temporary restraining order and preliminary injunction.

ECF 2. The government opposed the preliminary injunction. ECF 40. The plaintiffs filed a reply.

ECF 46. Three amici filed briefs: a group of local governments and local government officials,

ECF 37; the Immigration Reform Law Institute, ECF 63; and the State of Tennessee, ECF 50. The

Court heard argument on the motion on February 5, 2025.

       II.     Discussion

       The plaintiffs seek a preliminary injunction that enjoins the implementation and

enforcement of the Executive Order. The government argues that the plaintiffs do not have a cause

of action and that preliminary injunctive relief is unwarranted. The Court finds that the plaintiffs

do have a cause of action and that preliminary injuctive relief is warranted.

               A.      Reviewabilty of the Executive Order

       As a threshold matter, the Court must decide if the plaintiffs’ constitutional claim is subject

to judicial review. See Am. Forest Res. Council v. United States, 77 F.4th 787, 796 (D.C. Cir.

2023) (“Before [the court] turn[s] to the merits, [it] must decide whether the plaintiffs’ claims are

reviewable.”). 3




2
  Unless otherwise noted, the “plaintiffs” refers to the individual plaintiffs and members of the
organizational plaintiffs who are pregnant.
3
  The Court need not decide whether it may review the plaintiffs’ statutory claim because the
plaintiffs are entitled to a preliminary injunction on their constitutional claim. The claims are
essentially coterminous because the statute mirrors the Citizenship Clause. Although the Court has
a “duty to avoid deciding constitutional questions presented unless essential to proper disposition
of a case,” Harmon v. Brucker, 355 U.S. 579, 581 (1958), the constitutional question presented
here is essential to the proper disposition of the issues before the Court.


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        The plaintiffs claim the Executive Order violates the Fourteenth Amendment’s Citizenship

Clause. There is no question that the Court may review the constitutionality of the Executive Order

and grant injunctive relief. The Supreme Court consistently has “sustain[ed] the jurisdiction of

federal courts to issue injunctions to protect rights safeguarded by the Constitution.” See Bell v.

Hood, 327 U.S. 678, 684 (1946); see also Corr. Servs. Corp. v. Malesko, 534 U.S. 61, 74 (2001)

(“[I]njunctive relief has long been recognized as the proper means for preventing entities from

acting unconstitutionally.”). The Supreme Court has affirmed that “the President’s actions may . .

. be reviewed for constitutionality.” See Franklin v. Massachusetts, 505 U.S. 788, 801 (1992); see

also Dalton v. Specter, 511 U.S. 462, 473–74 (1994). And it is “well established that ‘[r]eview of

the legality of Presidential action can ordinarily be obtained in a suit seeking to enjoin the officers

who attempt to enforce the President’s directive.’” Chamber of Commerce v. Reich, 74 F.3d 1322,

1328 (D.C. Cir. 1996) (quoting Franklin, 505 U.S. at 815 (Scalia, J., concurring)); see also id. at

1326 (“[A]n independent claim of a President’s violation of the Constitution would certainly be

reviewable.”). In Armstrong v. Exceptional Child Center, Inc., the Supreme Court explained that

“[t]he ability to sue to enjoin unconstitutional actions by state and federal officers is the creation

of courts of equity, and reflects a long history of judicial review of illegal executive action, tracing

back to England.” 575 U.S. 320, 327 (2015). Pursuant to this authority, the Supreme Court has

reviewed constitutional challenges to executive orders. See, e.g., Youngstown Sheet & Tube Co. v.

Sawyer, 343 U.S. 579, 582 (1952); Cornelius v. NAACP Legal Def. & Educ. Fund, Inc., 473 U.S.

788, 795–96 (1985). During President Trump’s first term, the Supreme Court decided a

constitutional challenge to one of his proclamations. See Trump v. Hawaii, 585 U.S. 667, 697–99

(2018) (reaching the merits of an Establishment Clause challenge to a Presidential Proclamation).




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       The government insists the plaintiffs have an “available and exclusive mechanism to

challenge disputes about citizenship under the INA.” ECF 40, at 9. According to the government,

the plaintiffs must pursue their claims through a declaratory action under 8 U.S.C. § 1503(a) of

the INA. Section 1503(a) allows “any person who is within the United States” and who “claims a

right or privilege as a national of the United States and is denied such right or privilege by any

department or independent agency, or official thereof, upon the ground that he is not a national of

the United States” to seek declaratory relief after “the final administrative denial of such right or

privilege.” 8 U.S.C. § 1503(a).

       This INA provision does not prevent the plaintiffs from bringing a facial constitutional

challenge to the Executive Order. The text of the INA does not indicate that § 1503(a) is the

exclusive remedy for challenging the denial of a right to citizenship under the Fourteenth

Amendment. The Supreme Court has cautioned against reading a statutory right to judicial review

“as an exclusive route to review” when the text neither “expressly” nor “implicitly” limits the

Court’s jurisdiction. See Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 489

(2010) (statute permitting judicial review of the Securities and Exchange Commission’s rules and

orders was not the “exclusive route to review” constitutional claims against a government board

subject to the Commission’s good-cause removal power); see also Axon Enter., Inc. v. FTC, 598

U.S. 175, 185 (2023) (concluding federal statutes allowing courts of appeal to review an agency

order “d[id] not displace district court jurisdiction over . . . far-reaching constitutional claims”).

Indeed, judicial review under the INA is not the exclusive mechanism to challenge policies that

deny citizenship. See, e.g., Tuaua v. United States, 788 F.3d 300, 302–03 (D.C. Cir. 2015).

       Further, the plaintiffs cannot pursue their constitutional challenge to the Executive Order

under § 1503(a). The statute provides a cause of action to “any person who is within the United




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States” who “claims a right or privilege as a national of the United States.” 8 U.S.C. § 1503(a).

The plaintiffs are not seeking “a judgment declaring [their children] to be [] national[s] of the

United States” after the denial of a particular right or privilege, id., such as the denial of a passport,

see, e.g., Cambranis v. Blinken, 994 F.3d 457, 465 (5th Cir. 2021) (reviewing challenge under §

1503(a) brought after denial of passport application); Kiviti v. Pompeo, 467 F. Supp. 3d 293, 303

(D. Md. 2020) (same). Instead, the plaintiffs seek immediate injunctive relief from the Executive

Order because the Order is facially unconstitutional and denies citizenship to their unborn children.

So the government is incorrect: Section 1503(a) of the INA does not offer the plaintiffs an

exclusive and available remedy for their constitutional challenge to the Executive Order.

        The plaintiffs can seek protection from unconstitutional executive action in this Court. As

the Supreme Court has explained:

        “The very essence of civil liberty . . . certainly consists in the right of every
        individual to claim the protection of the laws, whenever he receives an injury. One
        of the first duties of government is to afford that protection.” Traditionally,
        therefore, “it is established practice for this Court to sustain the jurisdiction of
        federal courts to issue injunctions to protect rights safeguarded by the Constitution
        and to restrain individual state officers from doing what the 14th Amendment
        forbids the State to do.”

Davis v. Passman, 442 U.S. 228, 242 (1979) (first quoting Marbury v. Madison, 5 U.S. (1 Cranch)

137, 163 (1803); and then quoting Bell, 327 U.S. at 684). The Court can review the plaintiffs’

claim that the Executive Order violates the Fourteenth Amendment.

                B.      Motion for Preliminary Injunction

        To obtain a preliminary injunction, the plaintiffs must establish four factors: (1) that they

are likely to succeed on the merits; (2) that they are likely to suffer irreparable harm if preliminary

relief is not granted; (3) that the balance of equities favors them; and (4) that an injunction is in

the public interest. See Frazier v. Prince George’s County, 86 F.4th 537, 543 (4th Cir. 2023) (citing




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Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)). The plaintiffs must satisfy all four

factors to obtain a preliminary injunction. Real Truth About Obama, Inc. v. FEC, 575 F.3d 342,

347 (4th Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010). A preliminary injunction is

“an extraordinary remedy that may only be awarded upon a clear showing that the plaintiff is

entitled to such relief.” Winter, 555 U.S. at 22.

       The plaintiffs have shown they are entitled to this extraordinary remedy.

                       1. Likelihood of Success

       The Citizenship Clause of the Fourteenth Amendment states: “All persons born or

naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the United

States and of the State wherein they reside.” U.S. Const. amend. XIV, § 1, cl. 1. The plaintiffs

claim the Executive Order violates the Fourteenth Amendment because the order denies

citizenship to persons who are born in the United States and are “subject to the jurisdiction

thereof.” The President sees it differently. On the President’s account, “the categories of

individuals born in the United States and not subject to the jurisdiction thereof” include any child

(i) whose “mother was unlawfully present in the United States and the father was not a United

States citizen or lawful permanent resident at the time of said person’s birth” or (ii) whose

“mother’s presence in the United States at the time of said person’s birth was lawful but temporary

. . . and the father was not a United States citizen or lawful permanent resident at the time of said

person’s birth.” Exec. Order § 1. Examples of “lawful but temporary” presence include, “but [are]

not limited to, visiting the United States under the auspices of the Visa Waiver Program or visiting

on a student, work, or tourist visa.” Id. According to the Executive Order, “the privilege of United

States citizenship does not automatically extend to” these U.S.-born children. Id.




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       The President’s novel interpretation of the Citizenship Clause contradicts the plain

language of the Fourteenth Amendment and conflicts with 125-year-old binding Supreme Court

precedent. At the turn of the twentieth century, the Supreme Court in United States v. Wong Kim

Ark, 169 U.S. 649 (1898), resolved any debate about the scope of the Citizenship Clause and the

meaning of “subject to the jurisdiction thereof.” Wong Kim Ark forecloses the President’s

interpretation of the Citizenship Clause.

       The case arose when Wong Kim Ark, who was born in San Francisco to parents who were

Chinese citizens, traveled to China for a temporary visit and was denied re-entry into the United

States “upon the sole ground that he was not a citizen of the United States.” Id. at 653. Wong Kim

Ark insisted he was a U.S. citizen because he was born in California. Id. If he was a citizen, the

“Chinese Exclusion Acts,” which prohibited “persons of the Chinese race, and especially Chinese

laborers, from coming into the United States,” would not apply to him. Id.

       The Supreme Court framed “the question presented” like this:

       whether a child born in the United States, of parents of Chinese descent, who at the
       time of his birth are subjects of the emperor of China, but have a permanent
       domicile and residence in the United States, and are there carrying on business, and
       are not employed in any diplomatic or official capacity under the emperor of China,
       becomes at the time of his birth a citizen of the United States, by virtue of the first
       clause of the fourteenth amendment of the constitution: ‘All persons born or
       naturalized in the United States, and subject to the jurisdiction thereof, are citizens
       of the United States and of the state wherein they reside.’

Id.

       To answer this question, the Supreme Court began with the text of the Constitution and

determined that the “constitution nowhere defines the meaning of these words.” Id. at 654. It then

interpreted the Citizenship Clause “in the light of the common law, the principles and history of

which were familiarly known to the framers of the constitution.” Id. The Court observed that “[t]he

language of the constitution . . . could not be understood without reference to [English] common



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law.” Id.; see id. at 655 (“The interpretation of the constitution of the United States is necessarily

influenced by the fact that its provisions are framed in the language of the English common law,

and are to be read in the light of its history.” (quoting Smith v. Alabama, 124 U.S. 465, 478

(1888))).

        The Court prefaced its review of English common law as follows:

        The fundamental principle of the common law with regard to English nationality
        was birth within the allegiance—also called ‘ligealty,’ ‘obedience,’ ‘faith,’ or
        ‘power’— of the king. The principle embraced all persons born within the king’s
        allegiance, and subject to his protection. Such allegiance and protection were
        mutual,—as expressed in the maxim, ‘Protectio trahit subjectionem, et subjection
        protectionem,’—and were not restricted to natural-born subjects and naturalized
        subjects, or to those who had taken an oath of allegiance; but were predicable of
        aliens in amity, so long as they were within the kingdom. Children, born in England,
        of such aliens, were therefore natural-born subjects. But the children, born within
        the realm, of foreign ambassadors, or the children of alien enemies, born during
        and within their hostile occupation of part of the king’s dominions, were not
        natural-born subjects, because not born within the allegiance, the obedience, or the
        power, or, as would be said at this day, within the jurisdiction, of the king.

Id. at 655. That principle, as the Court explained, pervaded English common law cases. See id. at

655–58.

        After a lengthy discussion of common law cases, the Court concluded:

        It thus clearly appears that by the law of England for the last three centuries,
        beginning before the settlement of this country, and continuing to the present day,
        aliens, while residing in the dominions possessed by the crown of England, were
        within the allegiance, the obedience, faith or loyalty, the protection, the power, and
        the jurisdiction of the English sovereign; and therefore every child born in England
        of alien parents was a natural-born subject, unless the child of an ambassador, or of
        an alien enemy in a hostile occupation of the place where the child was born.

Id. at 658.

        The Court found that this “same rule was in force in all the English colonies upon this

continent down to the time of the Declaration of Independence, and in the United States afterwards,

and continued to prevail under the constitution as originally established.” Id. In cases decided after




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the Declaration of Independence, courts in the United States “assumed . . . that all persons born in

the United States were citizens of the United States.” Id. (citing Murray v. Schooner Charming

Betsy, 6 U.S. (2 Cranch) 64, 119 (1804)). The Court noted that, in Levy’s Lessee v. McCartee, 31

U.S. (6 Pet.) 102 (1832), Justice Story “treated it as unquestionable that by [the principles of

common law] a child born in England of alien parents was a natural-born subject.” 169 U.S. at

662. And in United States v. Rhodes, Justice Swayne also relied on English common law:

       All persons born in the allegiance of the king are natural-born subjects, and all
       persons born in the allegiance of the United States are natural-born citizens. Birth
       and allegiance go together. Such is the rule of the common law, and it is the
       common law of this country, as well as of England. We find no warrant for the
       opinion that this great principle of common law has ever been changed in the United
       States. It has always obtained here, with the same vigor, and subject only to the
       same exceptions, since as before the Revolution.

Id. at 662–63 (quoting United States v. Rhodes, 27 F. Cas. 785, 790 (C.C.D. Ky. 1866) (Swayne,

Cir. J.)). Justice Sewall of the Supreme Court of Massachusetts stated in Kilham v. Ward:

       The doctrine of common law is that every man born within its jurisdiction is a
       subject of the sovereign of the country where he is born; and allegiance is not
       personal to the sovereign in the extent that it has been contended for; it is due to
       him in his political capacity of sovereign of the territory where the person owing
       the allegiance was born.

Id. (quoting Kilham v. Ward, 2 Mass. (1 Tyng) 236, 264–65 (Mass. 1806)).

       After an extensive review of English common law, decisions of courts in the United States,

and recent acts of Congress, the Supreme Court concluded: “Here is nothing to countenance the

theory that a general rule of citizenship by blood or descent has displaced in this country the

fundamental rule of citizenship by birth within its sovereign.” Id. at 674. The Court concluded that

the Fourteenth Amendment and the Civil Rights Act of 1866, enacted two years before the

Fourteenth Amendment, “finally put at rest” any “doubt” that before their enactment, “all white

persons, at least, born within the sovereignty of the United States, whether children of citizens or




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of foreigners, excepting only children of ambassadors and public ministers of a foreign

government, were native-born citizens of the United States.” Id. at 674–75.

       With their enactment, the Fourteenth Amendment and the Civil Rights Act of 1866

“reaffirmed in the most explicit and comprehensive terms . . . the fundamental principle of

citizenship by birth within the dominion.” Id. at 675. Enacted first, the Civil Rights Act of 1866

states, in part: “All persons born in the United States, and not subject to any foreign power,

excluding Indians not taxed, are hereby declared to be citizens of the United States.” Id. (quoting

Civil Rights Act of 1866, ch. 31, § 1, 14 Stat. 27, 27). Soon after Congress enacted the Civil Rights

Act of 1866, the “same congress . . . evidently thinking it unwise, and perhaps unsafe, to leave so

important a declaration of rights to depend upon an ordinary act of legislation, which might be

repealed by a subsequent congress, framed the fourteenth amendment of the constitution.” Id. After

reciting the text of the Fourteenth Amendment’s Citizenship Clause, the Court stated:

       As appears on the face of the amendment, as well as from the history of the times,
       this was not intended to impose any new restrictions upon citizenship, or to prevent
       any persons from becoming citizens by the fact of birth within the United States,
       who would thereby have become citizens according to the law existing before its
       adoption.

Id. at 676. The “main purpose [of the Citizenship Clause] doubtless was . . . to establish the

citizenship of free negroes, which had been denied” in Dred Scott v. Sandford, 60 U.S. 393 (1857),

and “to put it beyond all doubt that all blacks, as well as whites, born or naturalized within the

jurisdiction of the United States, are citizens of the United States.” Id. The amendment’s “opening

words, ‘All persons born,’ are general, not to say universal, restricted only by place and

jurisdiction, and not by color or race.” Id.

       The Court then interpreted the clause “subject to the jurisdiction thereof.” Id. at 676–82.

At the time, the only case that had decided the meaning of the clause was Elk v. Wilkins, 112 U.S.




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94 (1884). Wong Kim Ark, 169 U.S. at 680. Justice Gray, the author of Wong Kim Ark, authored

Elk only four years earlier. As Justice Gray stated in Wong Kim Ark, the Elk Court held that “an

Indian born a member of one of the Indian tribes within the United States . . . was not a citizen of

the United States, as a person born in the United States, ‘and subject to the jurisdiction thereof,’

within the meaning of the clause in question.” Id. The Wong Kim Ark Court stated the rationale for

the Elk holding:

       Indian tribes, being within the territorial limits of the United States were not, strictly
       speaking, foreign states, but were alien nations, distinct political communities, the
       members of which owed immediate allegiance to their several tribes, and were not
       part of the people of the United States . . . Indians born within the territorial limits
       of the United States, members of, and owing immediate allegiance to, one of the
       Indian tribes (an alien, though dependent, power), although in a geographical sense
       born in the United States, are no more “born in the United States, and subject to the
       jurisdiction thereof,” within the meaning of the first section of the fourteenth
       amendment, than the children of subjects of any foreign government born within
       the domain of that government, or the children born within the United States of
       ambassadors or other public ministers of foreign nations.

Id. at 681. Justice Gray then explained why Elk did not apply to the case at bar: “The decision in

Elk v. Wilkins concerned only members of the Indian tribes within the United States, and had no

tendency to deny citizenship to children born in the United States of foreign parents of Caucasian,

African, or Mongolian descent, not in the diplomatic service of a foreign country.” Id. at 682.

       Having distinguished Elk as a unique case that “concerned only members of the Indian

tribes within the United States,” the Wong Kim Ark Court determined that:

       [t]he real object of the fourteenth amendment of the constitution, in qualifying the
       words ‘all persons born in the United States’ by the addition ‘and subject to the
       jurisdiction thereof,’ would appear to have been to exclude, by the fewest and fittest
       words (besides children of members of the Indian tribes, standing in a peculiar
       relation to the national government, unknown to the common law), the two classes
       of cases—children born of alien enemies of hostile occupation, and children of
       diplomatic representatives of a foreign state—both of which . . . by the law of
       England and by our own law, from the time of the first settlement of the English
       colonies in America, had been recognized exceptions to the fundamental rule of
       citizenship by birth within the country.



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Id. at 682.

        Ultimately, the Wong Kim Ark Court made these “irresistibl[e] . . . conclusions”:

        The fourteenth amendment affirms the ancient and fundamental rule of citizenship
        by birth within the territory, in the allegiance and under the protection of the
        country, including all children here born of resident aliens, with the exceptions or
        qualifications (as old as the rule itself) of children of foreign sovereigns or their
        ministers, or born on foreign public ships, or of enemies within and during a hostile
        occupation of part of our territory, and with the single additional exception of
        children of members of the Indian tribes owing direct allegiance to their several
        tribes. The amendment, in clear words and in manifest intent, includes the children
        born within the territory of the United States of all other persons, of whatever race
        or color, domiciled within the United States. Every citizen or subject of another
        country, while domiciled here, is within the allegiance and the protection, and
        consequently subject to the jurisdiction, of the United States.

Id. at 693. Except in rare instances, the Fourteenth Amendment guarantees U.S. citizenship to any

child born on U.S. soil. See id.

        The Wong Kim Ark Court then applied these holdings to the facts before it. Recall that

Wong Kim Ark was denied re-entry into the United States because it was believed he was not a

citizen, and if he was not a citizen, the Chinese Exclusion Acts barred his entry into the United

States. Id. at 653. The Court determined that no legislation to exclude Chinese citizens could apply

to a person “born in the United States of Chinese parents.” Id. at 694–99. Yet the United States

could “exclude” or “expel from the country persons of the Chinese race, born in China, and

continuing to be subjects of the emperor, though having acquired a commercial domicile in the

United States . . . .” Id. at 699. The Supreme Court had upheld the Acts previously based on “the

right to exclude or to expel all aliens,” id., including “Chinese persons not born in this country’”—

a population of people who had “‘never been recognized as citizens of the United States, nor

authorized to become such under the naturalization laws,” id. at 702 (quoting Fong Yue Ting v.

United States, 149 U.S. 698, 716 (1893)). The Acts could lawfully exclude someone born in China

“who had acquired a commercial domicile in the United States” but “voluntarily left . . . with the


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intention of returning.” See id. at 700 (citing Lem Moon Sing v. United States, 158 U.S. 538

(1895)).

       The Wong Kim Ark Court acknowledged that Congress could deny naturalization to

someone born in China. Id. But the Fourteenth Amendment “contemplates two sources of

citizenship . . . birth and naturalization.” Id. Congress’s “power of naturalization . . . is a power to

confer citizenship, not a power to take it away.” Id. at 703. The Court affirmed that “citizenship

by birth is established by the mere fact of birth under the circumstances defined in the

constitution.” Id. at 702. So although “[a] person born out of the jurisdiction of the United States

can only become a citizen by being naturalized,” “[e]very person born in the United States, and

subject to the jurisdiction thereof, becomes at once a citizen of the United States, and needs no

naturalization.” Id.

       In the end, the Court answered the initial question presented—“whether a child born in the

United States, of parents of Chinese descent, who at the time of his birth, are subjects of the

emperor of China, but have a permanent domicile and residence in the United States . . . and are

not employed in any diplomatic or official capacity under the emperor of China, becomes at the

time of his birth a citizen of the United States”—“in the affirmative.” Id. at 705.

       The government does not dispute that Wong Kim Ark is binding precedent. Nor does it

argue that Wong Kim Ark was wrongly decided or should be overturned. Instead, the government

claims that, under Wong Kim Ark, to be “subject to the jurisdiction” of the United States, a person’s

parents must, at the time of the person’s birth, be lawfully domiciled in the United States, ECF 40,

at 14, 24–26, and bear “‘direct and immediate allegiance’ to this country, unqualified by an

allegiance to any other foreign power,” id. at 4. Nothing in Wong Kim Ark remotely supports the

government’s narrow reading of the decision.




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        To address the government’s arguments, the Court first must clarify Wong Kim Ark’s

holding. Wong Kim Ark held that, under the Fourteenth Amendment, “[e]very person born . . . in

the United States” is “subject to the jurisdiction thereof” and thus a citizen by birth, id. at 702,

unless they fall into one of the recognized exceptions to citizenship by birth, id. at 693. See also

id. at 657–58 (describing exceptions to citizenship by birth for children of hostile occupiers or

diplomats under English common law); id. at 658 (“[T]herefore every child born in England of

alien parents was a natural-born subject, unless the child of an ambassador or other diplomatic

agent of a foreign state, or of an alien enemy in hostile occupation of the place where the child was

born.”); id. at 682 (finding “subject to the jurisdiction thereof” excludes “by the fewest and fittest

words (besides children of members of the Indian tribes . . .), the two classes of cases,—children

born of alien enemies of hostile occupation, and children of diplomatic representatives of a foreign

state”); id. at 693 (“The fourteenth amendment affirms the ancient and fundamental rule of

citizenship by birth within the territory . . . with the exceptions . . . of children of foreign sovereigns

or their ministers, or born on foreign public ships, or of enemies within and during a hostile

occupation of part of our territory, and . . . children of members of the Indian tribes owing direct

allegiance to their several tribes.”).

        The government seems to dismiss Wong Kim Ark’s holding, and the lengthy analysis that

supports it, as dicta. On the government’s account, Wong Kim Ark’s holding was limited to the

specific facts of the case: A person born in the United States whose foreign-born parents were

“domiciled” in the United States at the time of his birth is “subject to the jurisdiction of” the United

States. ECF 40, at 24–26. Wong Kim Ark cannot reasonably be read that narrowly. However, even

if not part of the Court’s holding, Wong Kim Ark’s statements that every person born in the United

States is “subject to the jurisdiction thereof” and thus a citizen by birth (with certain exceptions)




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certainly are not dicta. “Dictum is a ‘statement in a judicial opinion that could have been deleted

without seriously impairing the analytical foundations of the holding—that, being peripheral, may

not have received the full and careful consideration of the court that uttered it.’” Payne v. Taslimi,

998 F.3d 648, 654–55 (4th Cir. 2021) (quoting Pittston Co. v. United States, 199 F.3d 694, 703

(4th Cir. 1999)). If “a precedent’s reasoning” is “necessary to the outcome,” it “must be followed.”

Id. at 655.

        Wong Kim Ark’s statement that the “fourteenth amendment affirms the ancient and

fundamental rule of citizenship by birth” with certain recognized exceptions, 169 U.S. at 693,

could not “have been deleted without seriously impairing the analytical foundations of the

holding,” see Payne, 998 F.3d at 654. Even a cursory review of the decision reveals that this

statement and similar statements were not “peripheral” to the holding. They were central to it. And

there can be no question that the Court gave them “full and careful consideration.” See id. at 655.

The Court thoroughly discussed the history of citizenship by birth at English common law, the

decisions of U.S. courts applying the common law, and the history and text of the Fourteenth

Amendment. See Wong Kim Ark, 169 U.S at 655–82. A more “full and careful consideration” is

hard to imagine. And these statements and the Court’s reasoning were “necessary to the outcome”

of the case. See Payne, 998 F.3d at 655. Without them, the Court could not have determined that

Wong Kim Ark was a U.S. citizen under the Fourteenth Amendment and not excludable from the

country under the Chinese Exclusion Acts. They “must be followed.” Id.

        Even if they were dicta, this Court is not free to ignore them. “[C]arefully considered

language of the Supreme Court, even if technically dictum, generally must be treated as

authoritative.” Wynne v. Town of Great Falls, 376 F.3d 292, 298 n.3 (4th Cir. 2004) (quoting

Sierra Club v. EPA, 322 F.3d 718, 724 (D.C. Cir. 2003)). This Court “is ‘bound by Supreme Court




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dicta almost as firmly as by the Court’s outright holdings, particularly when the dicta is recent and

not enfeebled by later statements.’” See United States v. Fareed, 296 F.3d 243, 247 (4th Cir. 2002)

(quoting Gaylor v. United States, 74 F.3d 214, 217 (10th Cir. 1996)). Though Wong Kim Ark can

hardly be considered “recent,” the Supreme Court’s continual recognition that people born in the

United States are citizens by birth confirms that this Court must, at the very least, treat Wong Kim

Ark’s interpretation of the Fourteenth Amendment “as authoritative.” See Wynne, 376 F.3d at 298

n.3.

       Return to the government’s arguments. The government argues that, under Wong Kim Ark,

a person’s parents must, at the time of the person’s birth, be lawfully domiciled in the country for

the person to be “subject to the jurisdiction” of the United States. ECF 40, at 14, 24–26. The

government insists Wong Kim Ark imposes a parental domicile requirement for citizenship under

the Fourteenth Amendment because the Court mentioned “domicile” or “domiciled” throughout

the opinion. True, the Court included in the question presented at the beginning of the opinion, and

in the answer at the end of the opinion, that Wong Kim Ark’s parents “at the time of his birth” had

“a permanent domicile and residence in the United States.” Id. at 653, 705. Also true, the Court

stated: “The amendment, in clear words and in manifest intent, includes the children born within

the territory of the United States of all other persons, of whatever race or color, domiciled within

the United States.” Id. at 693 (emphasis added). However, the fact that Wong Kim Ark’s parents

were domiciled and resided in the United States was not essential to the holding or outcome. And

even though the Court described the parents of “children born within the territory of the United

States” as “domiciled within the United States,” the word “domicile” does not appear in the text

of the Fourteenth Amendment. And English common law did not impose a parental domicile

requirement. In fact, under English common law and the decisions of United States courts that




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followed it, the right to citizenship by birth included children of non-citizen parents not domiciled

in the country. Wong Kim Ark, 169 U.S. at 657 (noting the English common law rule that “every

person born within the dominions of the crown” was an English subject—“no matter whether of

English or of foreign parents, and, in the latter case, whether the parents were settled, or merely

temporarily sojourning, in the country”); Calvin’s Case, 77 Eng. Rep. 377, 384 (1608) (“[L]ocal

obedience being but momentary and uncertain, is yet strong enough to make a natural subject, for

if he hath issue here, that issue is . . . a natural born subject . . . .”); Lynch v. Clarke, 1 Sand. Ch.

583, 683 (N.Y. Ch. 1844) (applying English common law and holding plaintiff was an American

citizen because she was born in the United States even though her parents were only temporarily

sojourning in the United States when she was born). These cases were part of the common law that

the Fourteenth Amendment affirmed. Wong Kim Ark, 169 U.S. at 693. To be a “person[] born . . .

in the United States” and “subject to the jurisdiction thereof” does not require the person’s parents

to be domiciled in the United States at the time of birth. 4

        Next, the government argues that, under Wong Kim Ark, a person born in the United States

is “subject to the jurisdiction” of the United States only if he is “born ‘in the allegiance and under

the protection of this country,’” ECF 40, at 13 (quoting Wong Kim Ark, 169 U.S. at 693), and his

allegiance is “unqualified by ‘allegiance to any alien power,” id. (quoting Elk, 112 U.S. at 101–

02). The government misconstrues the language in Wong Kim Ark. As the Court explained: “The

fundamental principle of the common law with regard to English nationality was birth within the




4
  The government cites Benny v. O’Brien, which suggested that the Fourteenth Amendment
exempted from citizenship “those born in this country of foreign parents who are temporarily
traveling here, and children born of persons resident here in the diplomatic service of foreign
governments.” 32 A. 696, 698 (N.J. Sup. Ct. 1895). Benny, a decision from an intermediary New
Jersey court that came down before Wong Kim Ark, has no precedential value.



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allegiance—also called ‘ligealty,’ ‘obedience,’ ‘faith,’ or ‘power’—of the king. The principle

embraced all persons born within the king’s allegiance . . . .” 169 U.S. at 655 (emphasis added).

Put differently, “[a]ll persons born in the allegiance of the king are natural-born subjects, and all

persons born in the allegiance of the United States are natural-born citizens.” Id. at 662 (quoting

Rhodes, 27 F. Cas. at 790). That is to say, “every man born within its jurisdiction is a subject of

the sovereign of the country where he is born.” Id. at 663 (quoting Kilham, 2 Mass. at 265).

“[A]llegiance is not personal to the sovereign in the extent that it has been contended for; it is due

to him in his political capacity of sovereign of the territory where the person owing the allegiance

was born.” Id. (quoting Kilham, 2 Mass. at 265). At common law, the only people born within the

kingdom without allegiance to the king were children of diplomatic representatives or hostile

occupiers. Id. at 659–60. That is because they were not entitled to the king’s protection under

common law. Children of diplomatic representatives were “born under the actual protection and

in the dominions of a foreign prince.” Id. at 660 (quoting Inglis v. Trs. of Sailor’s Snug Harbor,

28 U.S. 99, 155 (1830) (opinion of Story, J.)). Children of hostile occupiers certainly were not

entitled to any protection of the sovereign. Id. All this is to say: if a person is born in the United

States and does not belong to one of the traditional classes of excepted persons, the person is born

“within the allegiance” of the United States and “subject to the jurisdiction” of the United States.

Wong Kim Ark did not hold, as the government maintains, that a person born in the United States

is only “subject to the jurisdiction of” the United States if the person bears exclusive allegiance to

the United States at the time of birth.

       Contrary to the government’s positions, Wong Kim Ark did not interpret “subject to the

jurisdiction thereof” in the Citizenship Clause of the Fourteenth Amendment to exclude persons




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born in the United States whose parents are not domiciled in the United States or persons who hold

allegiance to another country.

       The Executive Order directly conflicts with Wong Kim Ark. Under Wong Kim Ark, a person

“born in the United States” and “subject to the jurisdiction thereof” encompasses every person

born in this country save specific classes of people. The Executive Order purports to expand the

classes of people that are not “subject to the jurisdiction thereof” and thus to deny citizenship by

birth to people who are entitled to it under the Constitution. The children targeted by the Executive

Order do not fit within any of the limited exceptions to citizenship by birth identified in Wong Kim

Ark. They are not children of ambassadors, children of enemies in the country during a hostile

occupation, children born on foreign seas, or children born into Indian tribes. 5 They are children

whose citizenship by birth has been recognized in this country since the ratification of the

Fourteenth Amendment. When the children described in the Executive Order are born, they will

be United States citizens under the Fourteenth Amendment and long-standing Supreme Court



5
  On the same day the President issued the Executive Order at issue here, he issued another
Executive Order that describes “an unprecedented flood of illegal immigration” in which “millions
of illegal aliens” who “present significant threats to national security and public safety” have
entered the country illegally. Exec. Order § 1 (quoting Exec. Order No. 14159, “Protecting the
American People Against Invasion” (Jan. 20, 2025)). In its briefing, the government suggests that
a broad, inclusive reading of the Citizenship Clause’s “subject to the jurisdiction thereof” will
result in citizenship by birth “to the children of individuals who present such threats, including
even unlawful enemy combatants who enter this country in an effort to create sleeper cells or other
hostile threats.” ECF 40, at 21. The government seems to advocate for a broader reading of one of
the exceptions to citizenship by birth—“children born of alien enemies in hostile occupation”—to
include the children described in the Executive Order. See id. (quoting Wong Kim Ark, 169 U.S.
at 682). The meaning of the clause “subject to the jurisdiction thereof” was explained clearly in
Wong Kim Ark. It is meant to be expansive. See Wong Kim Ark, 169 U.S. at 682. The exception
for “children born of alien enemies in hostile occupation” applies during a hostile occupation “of
part of the king’s dominions.” Id. A “hostile occupation” entails the “firm possession” of a territory
that enables the occupier “to exercise the fullest rights of sovereignty over that place.” United
States v. Rice, 17 U.S. (4 Wheat.) 246, 254 (1819). This exception to citizenship by birth plainly
does not apply to the children described in the Executive Order.



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precedent. The President does not have the authority to strip them of their constitutional right to

citizenship by birth.

         The government cites no case decided after Wong Kim Ark that supports the President’s

interpretation of the Fourteenth Amendment. And there is none. Instead, the government relies

principally on two cases decided before Wong Kim Ark: Elk v. Wilkins, 112 U.S. 94 (1884), and

The Slaughter-House Cases, 83 U.S. (16 Wall.) 36 (1872). Elk and the The Slaughter-House Cases

are no help to the government. Wong Kim Ark discussed both cases at length and distinguished

them. See 169 U.S. at 676–82. It found that Elk’s interpretation of “subject to the jurisdiction

thereof” did not apply outside the context of Indian tribes because Elk “concerned only members

of the Indian tribes within the United States, and had no tendency to deny citizenship to children

born in the United States of foreign parents of Caucasian, African, or Mongolian descent, not in

the diplomatic service of a foreign country.” Id. at 682. Thus, Elk’s holding is confined to members

of Indian tribes. The children identified in the Executive Order are not akin to members of Indian

tribes, who, in the nineteenth century, enjoyed a unique political status and quasi-sovereignty. 6 See

Elk, 112 U.S. at 119–20 (Harlan, J., dissenting) (“[I]t would be obviously inconsistent with the

semi-independent character of such a tribe, and with the obedience they are expected to render to

their tribal head, that they should be vested with the complete rights—or, on the other, subjected

to the full responsibilities—of American citizens.”). Elk does not apply to this case. Nor do The

Slaughter-House Cases. The government relies on the following language from The Slaughter-

House Cases: “The phrase ‘subject to its jurisdiction’ was intended to exclude from its operation

children of ministers, consuls, and citizens or subjects of foreign states, born within the United

States.” 83 U.S. at 73. The government argues “subjects of foreign states” includes the children



6
    Congress gave members of Indian tribes citizenship by birth in 1924. 8 U.S.C. § 1401(b).


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described in the Executive Order. ECF 40, at 18. The problem for the government is that Wong

Kim Ark repudiated this language from The Slaughter-House Cases because it was “wholly aside

from the question in judgment, and from the course of reasoning bearing upon that case,” and “[i]t

was unsupported by any argument, or by any reference to authorities.” Id. at 678. 7 The government

has not identified any case that supports the President’s interpretation of the Fourteenth

Amendment.

       In the 125 years since Wong Kim Ark, the Supreme Court has never questioned whether a

child born in the United States—whose parents did not have lawful status or were in the country

temporarily—was an American citizen. In United States ex rel. Hintopoulos v. Shaughnessy, the

petitioners, who were married to each other, worked as crew members on foreign ships that came

into port in the United States. 353 U.S. 72, 73 (1957). They entered the United States lawfully and

remained in the country after their 29-day visas expired. Id. at 73. The wife gave birth three months

after her permission to stay expired and two months after her husband’s permission to stay expired.

Id. Half a year later, deportation proceedings were instituted against both parents, and they asked

to suspend deportation “on the ground of the economic detriment that would befall their minor son

in the event they were deported.” Id. at 74. The Court remarked that their child was, “of course, an



7
  The only other cases the government says support its position that parental domicile is necessary
to be “subject to the jurisdiction” of the United States are Chin Bak Kan v. United States, 186 U.S.
193 (1902), and Kwock Jan Fat v. White, 253 U.S. 454 (1920). In Chin Bak Kan, the Court stated
the ruling in Wong Kim Ark and included the fact that Wong Kim Ark’s parents “ha[d] a permanent
domicil[e] and residence in the United States.” 186 U.S. at 200 (quoting Wong Kim Ark, 169 U.S.
at 649). In Kwock Jan Fat, the petitioner claimed to be a U.S. citizen by birth, but a government
investigation concluded that he was born in China and entered the United States as a minor. 253
U.S. at 455–56. The parties did not dispute that if the petitioner’s parents were who he said they
were, he would have been born to them “when they were permanently domiciled in the United
States” and would be a U.S. citizen. Id. at 457 (citing Wong Kim Ark). Both cases reference Wong
Kim Ark only in passing. Neither case held that a person’s parents must be domiciled in the United
States for their U.S.-born children to be “subject to the jurisdiction” of the United States.


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American citizen by birth.” Id. at 73; see also id. at 79 (Douglas, J., dissenting) (“The citizen is a

five-year-old boy who was born here and who, therefore, is entitled to all the rights, privileges,

and immunities which the Fourteenth Amendment bestows on every citizen.”). Similarly, in INS

v. Errico, the Supreme Court considered two appeals of deporation orders. 385 U.S. 214, 214

(1966). Both petitioners entered the United States by making fraudulent misrepresentations to

immigration officials, and after entry, each had a child in the United States. Id. at 215–16. Even

though the children’s parents had procured entry into the country by fraud, the Court did not

question that the children were American citizens by virtue of their birth in the United States. See

id. (stating first petitioner’s child “acquired United States citizenship at birth” and second

petitioner’s child “became an American citizen at birth”). And in Hamdi v. Rumsfeld, the Supreme

Court “consider[ed] the legality of the Government’s detention of a United States citizen on United

States soil as an ‘enemy combatant.’” 542 U.S. 507, 509 (2004) (plurality). An amicus brief urged

the Court to find that the enemy combatant was not a citizen because his parents were in the United

States on temporary visas when he was born. See Br. for The Claremont Inst. Ctr. for Constitutional

Jurisprudence as Amicus Curiae Supporting Respondents, Hamdi v. Rumsfeld, 542 U.S. 507

(2004) (No. 03-6696), 2004 WL 871165. Despite this urging, the Court recognized that the person

detained was an American citizen because he was born in the United States. 542 U.S. at 509–10.

       In other cases, the Supreme Court never has intimated that the immigration status of parents

might affect whether their U.S.-born children are citizens at birth. See, e.g., INS v. Rios-Pineda,

471 U.S. 444, 446 (1985) (noting that the undocumented respondent—who had entered the country

without permission—“had given birth to a child, who, born in the United States, was a citizen of

this country”); Vance v. Terrazas, 444 U.S. 252, 255 (1980) (“Appellee . . . was born in this

country, the son of a Mexican citizen. He thus acquired at birth both United States and Mexican




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citizenship.”); Rogers v. Bellei, 401 U.S. 815, 828 (1971) (acknowledging that American

citizenship law “follows English concepts with an acceptance of the jus soli”); Nishikawa v.

Dulles, 356 U.S. 129, 131 (1958) (“Petitioner was born in Artesia, California, in 1916. By reason

of that fact, he was a citizen of the United States, and because of the citizenship of his parents, he

was also considered by Japan to be a citizen of that country.”); Kawakita v. United States, 343

U.S. 717, 720 (1952) (noting that petitioner was born in the United States to Japanese citizen

parents and “was thus a citizen of the United States by birth”); Hirabayashi v. United States, 320

U.S. 81, 96 (1943) (confirming that people of Japanese descent were citizens because they were

“born in the United States”); Perkins v. Elg, 307 U.S. 325, 327, 329 (1939) (citing Wong Kim Ark

and finding that the plaintiff was still an American citizen because of her birth in the United States,

even though she had moved abroad as a minor and acquired Swedish citizenship); Morrison v.

California, 291 U.S. 82, 85 (1934) (“A person of Japanese race is a citizen of the United States if

he was born within the United States.”); Weedin v. Chin Bow, 274 U.S. 657, 670 (1927) (discussing

Wong Kim Ark and noting that a child born in the United States “was nevertheless, under the

language of the Fourteenth Amendment, a citizen of the United States by virtue of the jus soli

embodied in the amendment”); Ah How v. United States, 193 U.S. 65, 65 (1904) (stating petitioners

offered evidence that they were born in the United States “and therefore each was a citizen”).

       The government’s only response to these Supreme Court cases: “[I]t is not unusual for the

Supreme Court, after fully exploring a legal issue, to reach a conclusion that conflicts with earlier

assumptions.” ECF 40, at 28. That is no response at all.

       The Executive Order flouts the plain language of the Fourteenth Amendment to the United

States Constitution, conflicts with binding Supreme Court precedent, and runs counter to our




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nation’s 250-year history of citizenship by birth. The plaintiffs have shown an extremely strong

likelihood that they will succeed on the merits of their constitutional claim.

                       2. Irreparable Harm

       “Citizenship is a most precious right[,] . . . expressly guaranteed by the Fourteenth

Amendment to the Constitution . . . .” Kennedy v. Mendoza-Martinez, 372 U.S. 144, 159 (1963);

see also Perez v. Brownell, 356 U.S. 44, 64 (1958) (Warren, J., dissenting) (“Citizenship is man’s

basic right for it is nothing less than the right to have rights.”). The right to American citizenship

is “a right no less precious than life or liberty.” Klapprott v. United States, 335 U.S. 601, 616

(1949) (Rutledge, J., concurring in result). The “deprivation of a constitutional right, ‘for even

minimal periods of time, unquestionably constitutes irreparable injury.’” Miranda v. Garland, 34

F.4th 338, 365 (4th Cir. 2022) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976))); accord Leaders

of a Beautiful Struggle v. Balt. Police Dep’t, 2 F.4th 330, 346 (4th Cir. 2021) (en banc) (“Because

there is a likely constitutional violation, the irreparable harm factor is satisfied.”); Ross v. Meese,

818 F.2d 1132, 1135 (4th Cir. 1987) (“[T]he denial of a constitutional right . . . constitutes

irreparable harm for purposes of equitable jurisdiction”).

       Here, the plaintiffs have established a strong likelihood of success of the merits on their

claim that the Executive Order violates the Fourteenth Amendment. The denial of the precious

right to citizenship for any period of time will cause them irreparable harm.

       The government argues that any harm is “speculative” because the plaintiffs’ children will

have “other routes of obtaining status,” such as seeking asylum. ECF 40, at 29. This argument is

callous and wrong. The irreparable harm to the plaintiffs and their unborn children is concrete and

imminent. If the Court does not enjoin enforcement of the Executive Order, children born in the

United States who are subject to the Order immediately will be denied the benefits and rights of




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U.S. citizenship. The benefits of citizenship include access to certain government public benefit

programs such as health care through the Children’s Health Insurance Program and food assistance

through the Supplemental Nutrition Assistance Program. See ECF 37, at 10. The rights of

citizenship include the right to live in the United States lawfully and without fear of deportation.

Without an injunction, all U.S.-born children subject to the Executive Order will have no legal

status in this country when they are born. Without legal status at birth, children could be placed in

removal proceedings and deported. Many of the plaintiffs have pending asylum applications or

temporary legal status and are not subject to removal. If the Order goes into effect, their children

will be without legal status and may be subject to removal even if they are not. The Order may

cause some plaintiffs to be separated from their children. See Wanrong Lin v. Nielsen, 377 F. Supp.

3d 556, 564–65 (D. Md. 2019) (finding plaintiff would be irreparably harmed if deported and

separated from his wife and children in the United States).

       Additionally, some of the children of the plaintiffs will be stateless if the Order goes into

effect. See ECF 2-5, ¶ 4 (statement of plaintiff Liza that her child would be stateless without

American citizenship as she and her husband cannot safely apply for Russian citizenship for their

child); ECF 2-7, ¶¶ 7–9 (statement of plaintiff Monica that her child would be stateless without

American citizenship because there is no Venezuelan consulate in the United States where she

could apply for her child’s Venezuelan citizenship). For stateless newborns, their “very existence

[will be] at the sufferance of the country in which [they] happen[] to find [themselves].” Trop v.

Dulles, 356 U.S. 86, 101 (1958).

       Without an injunction, the plaintiffs will face instability and uncertainty about the

citizenship status of their newborn babies, and their children born on U.S. soil will be denied the




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rights and benefits of U.S. citizenship. The Executive Order, if not enjoined, will cause the

plaintiffs and their children grave, irreparable harm.

                       3. Balance of Equities and Public Interest

        The final two factors are the balance of the equities and the public interest. The balance of

the equities and the public interest “merge when the Government is the opposing party.” Miranda,

34 F.4th at 365 (quoting Nken v. Holder, 556 U.S. 418, 435 (2009)). To balance the equities, the

Court considers “the relative harms to the applicant and respondent, as well as the interests of the

public at large.” Barnes v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305

(1991) (Scalia, J., in chambers) (quoting Rostker v. Goldberg, 448 U.S. 1306, 1308 (1980)

(Brennan, J., in chambers)). The equities and the public interest weigh very strongly in the

plaintiffs’ favor.

        Today, virtually every baby born on U.S. soil is a U.S. citizen upon birth. That is the law

and tradition of our country. That law and tradition will remain the status quo pending the

resolution of this case. The government will not be harmed if enforcement of the Executive Order

is enjoined. “[A] state is in no way harmed by issuance of a preliminary injunction which prevents

the state from enforcing restrictions likely to be found unconstitutional. If anything, the system is

improved by such an injunction.” Centro Tepeyac v. Montgomery County, 722 F.3d 184, 191 (4th

Cir. 2013) (quoting Giovani Carandola, Ltd. v. Bason, 303 F.3d 507, 521 (4th Cir. 2002)). And

“upholding constitutional rights surely serves the public interest.” Id. (quoting Giovani, 303 F.3d

at 521); accord Legend Night Club v. Miller, 637 F.3d 291, 303 (4th Cir. 2011) (“[U]pholding

constitutional rights is in the public interest.”). If the Executive Order is not enjoined, local

governments will face significant harm. Local governments are responsible for issuing birth

certificates, which, under the Order, will no longer automatically prove citizenship. See ECF 37,




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at 14. The Order would require local governments to either change the information provided on

birth certificates or develop an entirely new process to verify citizenship. Id. at 15. Additionally,

localities will bear a financial burden if the Order takes effect. Currently, local governments

receive federal funding for foster care expenses and health care for children who “qualif[y]” for

assistance. 8 U.S.C. § 1641(b)–(c). A noncitizen “qualifie[s]” if they are a lawful permanent

resident or have received one of several forms of humanitarian relief, such as asylum or refugee

status. Id. People with only temporary legal status, such as student or work visas, or people without

any legal status are generally not considered “qualified” for these programs. See 8 U.S.C.

§ 1611(a). If children born in the U.S. are not citizens upon birth, they will not be entitled to federal

benefits, and local governments will bear the financial burden for public services. ECF 37, at 9–

12. These collateral consequences on local municipalities and taxpayers surely do not serve the

public interest.

        The balance of the equities and the public interest strongly weigh in favor of a preliminary

injunction that maintains the status quo during litigation.

        All four factors weigh in favor of a preliminary injunction.

                        4. Nationwide Injunction

        “District courts have broad discretion to craft remedies based on the circumstances of a

case, but likewise must ensure that ‘a preliminary injunction is no more burdensome to the

defendant than necessary to provide complete relief to the plaintiffs.’” HIAS, Inc. v. Trump, 985

F.3d 309, 326 (4th Cir. 2021) (quoting Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020)).

Indeed, “[a] district court may issue a nationwide injunction so long as the court ‘mold[s] its decree

to meet the exigencies of the particular case.’” Id. (alteration in original) (quoting Trump v. Int’l

Refugee Assistance Project, 582 U.S. 571, 580 (2017)).




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       Only a nationwide injunction will provide complete relief to the plaintiffs. ASAP has “over

680,000 members . . . who reside in all 50 U.S. states and several U.S. territories.” ECF 1, ¶ 31.

ASAP expects that “[h]undreds or even thousands of ASAP members will give birth to children in

the United States over the coming weeks and months.” Id. ¶ 38. Because ASAP’s members reside

in every state and hundreds of them expect to give birth soon, a nationwide injunction is the only

way “to provide complete relief” to them. Madsen v. Women’s Health Ctr., Inc., 512 U.S. 753,

765 (1994) (quoting Califano v. Yamasaki, 442 U.S. 682, 702 (1979)).

       Further, “a nationwide injunction may be appropriate when the government relies on a

‘categorical policy.’” See HIAS, 985 F.3d at 326. The Executive Order is a categorical policy. A

nationwide injunction against the categorical policy in the Executive Order is appropriate. It also

is necessary because the policy concerns citizenship—a national concern that demands a uniform

policy. See Arizona v. United States, 567 U.S. 387, 394–95 (2012) (noting that the federal

government has “constitutional power to ‘establish an uniform Rule of Naturalization’” (emphasis

added) (quoting U.S. Const. art. 1, § 8, cl. 4)). A nationwide injunction is appropriate and

necessary.

       III.    Conclusion

       For the foregoing reasons, the motion for a preliminary injunction is granted. The Court

enjoins the implementation and enforcement of the January 20, 2025 Executive Order 14160,

“Protecting the Meaning and Value of American Citizenship.” A separate order follows.



Date: February 5, 2025
                                                            Deebo
                                                            Deborah
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                                                                     L. Board
                                                                        Boardman
                                                            United States District Judge




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